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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                         Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                               Phone: (312) 435-5850
              Chicago, Illinois 60604                                                    www.ca7.uscourts.gov




                                                          ORDER
 March 19, 2018

                                                           Before
                                      DIANE S. SYKES, Circuit Judge
                                      DAVID F. HAMILTON, Circuit Judge
                                      JOHN Z. LEE, District Judge*



                                         W.G.A.,
                                         Petitioner

 No. 16-4193                             v.

                                         JEFFERSON B. SESSIONS III, Attorney General of the United States,
                                         Respondent

 Originating Case Information:

 Agency Case No: A000-000-000
 Board of Immigration Appeals


The following are before the court:
        1. MOTION FOR STAY OF REMOVAL, filed on March 15, 2018, by counsel for the
        petitioner.
        2. RESPONDENT’S NON-OPPOSITION TO PETITIONER’S MOTION FOR A
        STAY OF REMOVAL, filed on March 16, 2018, by counsel for the respondent.

       IT IS ORDERED that the motion is GRANTED. Petitioner W.G.A.'s removal is
STAYED effective on his reentry to the United States pending resolution of his petition for
review.

_____________________________________________
*Of the Northern District of Illinois, sitting by designation.


 form name: c7_Order_3J(form ID: 177)


                                                                                                         EXHIBIT C
